Case 6:22-cv-06025-FPG-MJP       Document 84     Filed 10/24/24    Page 1 of 5




               UNITED STATES DISTRICT COURT
               WESTERN DISTRICT OF NEW YORK


   Ronald Muhammad,

                 Plaintiff,

          v.                                   22-cv-6025-FPG-MJP

   Anthony Annucci, et al.,

                 Defendants.


                           DECISION and ORDER

         Plaintiff Ronald Muhammad moves to amend his complaint and,

  as the Court construes it, to opt out of mediation. For the following rea-

  sons, his motions are DENIED. Separately, Defendant Annucci moves,

  by letter motion, for an extension of time to select an ADR neutral and

  to opt out of ADR. Those motions, too, are DENIED.

         First, the Court denies Muhammad’s motion to amend. While it

  appears that Muhammad may have good cause for bringing his motion

  to amend after the deadline to do so, he “must attach an unsigned copy

  of the proposed amended pleading as an exhibit to” his motion to amend.

  Loc. R. Civ. P. 15(a).

         The Court also notes that “[t]he proposed amended pleading must

  be a complete pleading superseding the original pleading in all re-

  spects.” Id. The proposed amended pleading must “state” the party’s

  “claims or defenses in numbered paragraphs each limited as far as



                                      1
Case 6:22-cv-06025-FPG-MJP        Document 84      Filed 10/24/24   Page 2 of 5




  practicable, to a single set of circumstances.” Fed. R. Civ. P. 10(b); see

  also see also Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (a complaint

  must have “facial plausibility,” and achieves this when “the plaintiff

  pleads factual content that allows the court to draw the reasonable in-

  ference that the defendant is liable for the misconduct alleged”). Failure

  to follow these instructions will result in the Court denying a new mo-

  tion to amend from Muhammad.

        Here, Muhammad has not attached a proposed amended com-

  plaint to his motion. The Court accordingly denies his motion without

  prejudice. The Court makes no comment on the merits of Muhammad’s

  motion to amend, noting that it is denying the motion on procedural

  grounds.

        Second, Defendants request more time to select a mediator. (Let-

  ter, ECF No. 82.) The Court takes this letter to mean that the parties

  have not settled on a mediator. (Id. (“I am communicating with Plaintiff

  regarding the possibility to refer the matter to ADR and to select a me-

  diator. I would respectfully request the Court to extend the deadline un-

  til October 30, 2024, for the parties to confer and select a mediator[.]”).)

  Because the parties failed to choose a mediator by the applicable dead-

  line, (Scheduling Order ¶ 1(a), ECF No. 66), the Court directs the Dis-

  trict’s ADR Coordinator to pick a random, Rochester-based, member of




                                       2
Case 6:22-cv-06025-FPG-MJP        Document 84      Filed 10/24/24   Page 3 of 5




  the Court’s mediation panel. Thus, the Court DENIES Defendants’ re-

  quest for an extension.

         Next, the Court turns to Muhammad’s request to opt out of medi-

  ation. (ECF No. 83.) The Court DENIES this request. The Court does

  not agree that Muhammad’s “urgent matters would be gratuitously de-

  layed and remain unresolved by mediation.” (Id.) As the Court’s opera-

  tive scheduling order states: “The referral of this case to mediation will

  not delay or defer other dates contained in this scheduling order and has

  no effect on the progress of the case towards trial.” (Scheduling Order

  ¶ 1(d), ECF No. 66.) Moreover, Judge Geraci set a briefing schedule for

  Muhammad’s pending motion for injunctive-style relief that extends

  into December 2024. (ECF No. 81.) And Muhammad points to no rea-

  son—other than his say-so—that mediation would delay his case. This

  is not the good cause needed to opt out of mediation. See ADR Plan

  § 2.2(C) (“Opting Out Motions shall be granted only for ‘good cause’

  shown. Inconvenience, travel costs, attorney fees, or other costs shall not

  constitute ‘good cause.’”).

         Finally, both parties missed the deadline for opting out of media-

  tion. (Id. ¶ 1(b) (“The parties shall file any motions to opt out of the ADR

  process within 14 days of the issuance of this scheduling order.”).) The

  parties have not shown good cause to extend the time for opting out of

  mediation. That is, they have not shown why they could not have




                                       3
Case 6:22-cv-06025-FPG-MJP        Document 84      Filed 10/24/24   Page 4 of 5




  reasonably met the deadline in the Court’s operative scheduling order

  for picking a moving to opt out of mediation. This is an independent rea-

  son to deny Muhammad’s request to opt out of mediation. (ECF No. 83.)

  For the same reason, the Court DENIES Defendants’ request for an

  extension of the deadline to opt out of mediation. (ECF No. 82.)

                              CONCLUSION

         The Court directs the parties to proceed to mediation and partic-

  ipate in the mediation process in good faith. Failure to do so may result

  in sanctions for failing to obey this pretrial order or this Court’s ADR

  Plan. Fed. R. Civ. P. 16(f); Romanac v. Town of Cheektowaga, New York,

  No. 17-CV-334S, 2021 WL 3721133, at *1 (W.D.N.Y. Aug. 23, 2021)

  (“This alternative resolution is to be engaged in good faith by the parties;

  if not, the party is subject to sanction.”); see also ADR Plan §§ 2.3(A)–

  (C).

         For the reasons stated, Muhammad’s motion to amend, (ECF No.

  80), is DENIED. Muhammad may bring a new motion to amend. Mu-

  hammad’s requested to opt out of ADR is likewise DENIED.

                  [Remainder of page intentionally blank.]




                                       4
Case 6:22-cv-06025-FPG-MJP      Document 84      Filed 10/24/24   Page 5 of 5




        Additionally, Defendants’ request for an extension of time to pick

  an ADR neutral is DENIED. The Court’s ADR Coordinator is directed

  to pick a random mediator based in the Rochester, New York, area. Fi-

  nally, Defendants’ request for an extension of the deadline to opt out of

  ADR is DENIED.

  SO ORDERED.

  Dated:        October 24, 2024
                Rochester, NY            /s/ Mark W. Pedersen
                                         MARK W. PEDERSEN
                                         United States Magistrate Judge




                                     5
